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                         TN THE UNITED STATES DISTRICT COURT

                             FOR THE NORTHERN DISTRICT OF OHIO

                                     EASTERN DIVISION

 UNITED STATES OF AMERICA,                         )    CASE     0.: I :20MJ91 l 1
                                                   )
                Plaintiff,                         )    MAGISTRATE JUDGE WILLIAM H.
                                                   )    BAUGHMA , JR.
                                                   )
        v.                                         )
                                                   )
 QING WANG, A.K.A. KE            ETH WANG,         )    GOVERNMENT'S MOTION
                                                   )    TO DISMISS COMPLATNT WITHOUT
                Defendant.                         )    PREJUDICE

       Now comes the United States of America, through its counsel , Bridget M. Brennan,

Acting United States Attorney, and Michael L. Collyer and Brian S. Deckert, Assistant United

States Attorneys, and respectfully moves this Court for an order to dismiss this matter without

prejudice. A copy of the Order of Dismissal is attached hereto.

                                                       Respectfully submitted,

                                                       BRIDGET M. BRE        AN
                                                       Acting United States Attorney

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